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                       IN THE UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF COLUMBIA



 ELECTRONIC PRIVACY INFORMATION
 CENTER,

        Plaintiff,

 v.                                                 Civil Action No. 1:17-cv-1320 (CKK)

 PRESIDENTIAL ADVISORY
 COMMISSION ON ELECTION
 INTEGRITY, et al.,

        Defendants.




                                  NOTICE OF DELETION

       Pursuant to this Court’s July 19, 2018 Order, Defendants respectfully submit an updated

declaration from Charles C. Herndon, Director of White House Information Technology,

confirming the deletion of the state voter data collected by the former Commission.
        Case 1:17-cv-01320-CKK Document 64 Filed 08/20/18 Page 2 of 2



Dated: August 20, 2018              Respectfully submitted,

                                    CHAD A. READLER
                                    Acting Assistant Attorney General

                                    ELIZABETH J. SHAPIRO
                                    Deputy Director

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